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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION
 CONGHUA YAN                                      §
                                                  §
 VS.                                              § CIVIL ACTION NO. 4:23-CV-758-P
                                                  §
 THE STATE BAR OF TEXAS, ET AL.                   §

          FINDINGS, CONCLUSIONS, AND RECOMMENDATION
  REGARDING PLAINTIFF’S SECOND MOTION FOR SANCTIONS TO COUNSEL
                        MELVIN KEITH OGLE

        Pending before the Court is pro se Plaintiff Conghua Yan’s Second “Motion for Sanctions

to Counsel Melvin Keith Ogle” [doc. 74], filed September 22, 2023. Having carefully considered

the motion, and response, the Court finds, concludes, and RECOMMENDS that the motion

should be DENIED for the reasons stated in Defendants’ response.

        The Court notes that this is the fourth motion for sanctions that Plaintiff has filed [docs.

22, 33, 63, 74] and the second motion for sanctions Plaintiff has filed against attorney Keith Ogle

(“Ogle”). The only apparent difference between the first motion [doc. 33] and the second motion

[doc. 74] against Ogle is in paragraph 12. In an order dated August 31, 2023, the undersigned

recommended, inter alia, denying Plaintiff’s first motion for sanctions against Ogle. United States

District Court Judge Mark Pittman adopted the undersigned’s recommendation in an order dated

September 18, 2023. The repeated, unwarranted filing of motions for sanctions against an attorney

is a serious matter, which the Court will not continue to tolerate. If Plaintiff files any future

frivolous motions for sanctions, the undersigned will recommend appropriate sanctions against

Plaintiff.
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                       NOTICE OF RIGHT TO OBJECT TO PROPOSED
                    FINDINGS, CONCLUSIONS AND RECOMMENDATION
                       AND CONSEQUENCES OF FAILURE TO OBJECT

        Under 28 U.S.C. § 636(b)(1), each party to this action has the right to serve and file specific

written objections in the United States District Court to the United States Magistrate Judge’s

proposed findings, conclusions and recommendation within fourteen (14) days after the party has

been served with a copy of this document. The United States District Judge need only make a de

novo determination of those portions of the United States Magistrate Judge’s proposed findings,

conclusions and recommendation to which specific objection is timely made. See 28 U.S.C. §

636(b)(1). Failure to file, by the date stated above, a specific written objection to a proposed

factual finding or legal conclusion will bar a party, except upon grounds of plain error or manifest

injustice, from attacking on appeal any such proposed factual findings and legal conclusions

accepted by the United States District Judge. See Douglass v. United Servs. Auto Ass’n, 79 F.3d

1415, 1428–29 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. §

636(b)(1) (extending time to file objections from ten to fourteen days).

                                                ORDER

        Under 28 U.S.C. § 636, it is hereby ORDERED that each party is granted until October

10, 2023 to serve and file written objections to the United States Magistrate Judge’s proposed

findings, conclusions and recommendation. It is further ORDERED that if objections are filed

and the opposing party chooses to file a response, the response shall be filed within seven (7) days

of the filing date of the objections.

        SIGNED September 26, 2023.

                                                       ___________________________________
                                                       JEFFREY L. CURETON
                                                       UNITED STATES MAGISTRATE JUDGE
JLC/knv



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